Case 1:19-cv-00662-CFC Document 329 Filed 03/14/22 Page 1 of 31 PagelD #: 17039

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

CAREDX, INC.
Plaintiff,

V. C.A. No. 19-cv-662-CFC-CJB

NATERA, INC.,
Defendant.

 

 

{PROPOSED] JURY VERDICT FORM
Case 1:19-cv-00662-CFC Document 329 Filed 03/14/22 Page 2 of 31 PagelD #: 17040

INSTRUCTIONS

In answering the following questions and filling out this Verdict Form, you are to follow all of the instructions | have
given you. Your answer to each question must be unanimous. Some of the questions contain legal terms that are explained
in detail in the Jury Instructions. Please refer to the Jury Instructions if you are unsure about the meaning or usage of any

legal term that appears in the questions below.
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CAREDX QUESTIONS
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Alleged Advertising Claim A

More sensitive and specific Introd UCING Pros pera

than current assessment

tools across all types of Prospera is powered by highly optimized, proprietary cell-free DNA (cfDNA) technology. As part of your
rejection. tool kit, Prospera assesses all types of kidney transplant rejection’ with the greatest precision. '

° More sensitive and apeae than current assessment tools
across all types of rejection”

° Up to 5x less variability than first- -generation donor- derived
cell-free DNA technology

JTX-7.2 (Brochure)

* More sensitive and specific than current assessment tools across all types of rejection:225 Serum
creatinine tests are the current baseline screening standard, yet are not accurate enough for kidney transplant injury.

Since then, first generation cell-free DNA technology has exhibited high variability. Prospera’s published data shows
better performance than both assessment methods.

 

 

JTX-5.3 (Website)
YES NO
QUESTION NO. 1:
for CareD for Nat
Did CareDx prove by a preponderance of the evidence that Natera is liable for (fer Carex) (for Natera}

 

false advertising for Alleged Advertising Claim A? [

 

 

 

 
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Alleged Advertising Claim B

The advertisement to the

When comparing published clinical validation studies, Prospera
demonstrated better performance in correctly classifying patients
right. with active rejection — including cell-mediated rejection.?°

Other tests may incorrectly classify patients experiencing active
mms § (O}ECtION aS Normal (up to 1 out of 2 cases).°

Of 100 active rejection cases, the number of patients who would be missed, and told they are normal?!

 

 

 

 

 

 

 

 

 

QUESTION NO. 2:
Did CareDx prove by a preponderance of the evidence that Natera is liable for
false advertising for Alleged Advertising Claim B?

 

Prosper 11/100 accona | 41/100 creatine ~— | 40/100
ateaentiett dtRHERONERONEERNRERE «© eeboeHHEEHONSOEONN
tvvoOneHOOOOHOONEEE peeaaREaEEEEO ERED
Sensitivity 89% Sensitivity 59% Sensitivity | 52%
JTX-7.3 (Brochure)

YES NO

(for CareDx) (for Natera)

CL]

 

 
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Ee sere

 

Alleged Advertising Claim C

The statements to the right.

Natera Announces Publication of Kidney Transplant Validation
Study, Demonstrating Superior Data in Detection of Clinical and
Subclinical Rejection

Represents Successful Achievement of All 2018
Commercialization Milestones, on Path to 2019
Launch

SAN CARLOS, Calif., Jan. 7, 2019 /PRNewswire/ -- Natera, Inc. (NASDAQ: NTRA), a leader in
cell-free DNA, today announced clinical validation study results published in the Journal of
Clinical Medicine,’ demonstrating the highly accurate performance of its donor-derived cell-
free DNA (dd-cfDNA) test for active allograft rejection in kidney transplant recipients, including
higher sensitivity and nearly 18% higher area under the curve (AUC) than the competitive dd-
cfDNA assay.'? The study also reports the first accurate detection of T-cell mediated rejection
(TCMR) and subclinical rejection. This marks the successful completion of all 2018
commercialization milestones, and is in line with the company's plan to secure Medicare
coverage and commercially launch its test in 2019.

JTX-12.1 (Press Release)

 

 

YES NO
QUESTION NO. 3:
for CareD for Nat
Did CareDx prove by a preponderance of the evidence that Natera is liable for iron Canepa) (tor Matera)
false advertising for Alleged Advertising Claim C? |

 

 

 

 
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Alleged Advertising Claim D

 

The statements to the right. a
Natera Announces Publication of Analytical Validation Study

Demonstrating Superior Precision of Its Kidney Transplant
Rejection Assay

Core Technology Delivers Superior Analytical
Performance, Underpins Outstanding Clinical
Performance

SAN CARLOS, Calif., Feb. 22, 2019 /PRNewswire/ -- Natera, Inc. results to be published online

 

 

performance in detecting active allograft rejection (AR). In its recently published clinical
validation study,* Natera reported higher sensitivity (89% vs. 59%) and higher area under the
curve (0.87 vs. 0.74) than the competing dd-cfDNA assay.*° In that study, Natera also

JTX-14.2 (Natera February 22, 2019 Press Release)

 

 

JTX 16 (Natera June 24, 2019 press release); JTX-17.2 (Natera December 19, 2019 press release);

 

QUESTION NO. 4: YES NO

for CareD for Nat
Did CareDx prove by a preponderance of the evidence that Natera is liable for yerGareoa) feria era)
false advertising for Alleged Advertising Claim D? [

 

 

 

 
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@-17=1 Dy MO LE(=sd(o) aM \ (ome)
Alleged Advertising Claim E

The advertisement to the
right. 16% missed

 
 

Dk oo)

First generation dd-cfDNA*

5% missed

ea Atco by( tj X

fewer rejections

 
 

 

 

missed
Prospera?
Based upon 25% prevalence of active rejection 24
JTX-6.4 (Website)
YES NO
QUESTION NO. 5:
for CareD for Nat
Did CareDx prove by a preponderance of the evidence that Natera is liable for moncarele), rer Nevers)

false advertising for Alleged Advertising Claim E? [ ]

 

 

 
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Alleged Advertising Claim F

The advertisement to the Lower risk of missing active rejection

right.
iB With 98% negative predictive value (NPV), Prospera misses nearly
three times fewer rejectionst than first-generation dd-cfDNA?* and

mms § {Our times fewer rejectionst than serum creatinine.’

 

Percentage of patients with a negative result who have active rejection
TAt a 10% prevalence of active rejection using a 1% dd-cfDNA threshold to define the patient's risk

Serum creatinine?

 

 

Prospera” First-generation dd-cfDNA®

1.7% 5% 7.1%

  

4x fewer rejections missed

JTX-7.3 (Brochure)

 

 

YES NO
QUESTION NO. 6: (for CareDx) (for Natera)

Did CareDx prove by a preponderance of the evidence that Natera is liable for
false advertising for Alleged Advertising Claim F? XI [ ]

 

 

 
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(OFT r=] D) a OlUT-Sjalelam (oer, 10

Alleged Advertising Claim G

The advertisement to the Stronger test performance demonstrated with unique clinical capabilities

right. .
@natera éCareDx

* Largest dd- cfDNA validation study

(217 patients) = 1e7
° Higher area under the curve; driven 0.87 0.74
by superior clinical data
° First test to accurately detect TCMR
10/10
(about 1/3 of all AR cases) yt aja
° First test to consistently detect 92% N/A
subclinical rejection
° 5x higher repeatability 1.85 9.2

a at 0.6% donor fraction (CV)

JTX-21.11 (CEOT Presentation)

 

 

YES NO
QUESTION NO. 7: (for CareDx) (for Natera)

Did CareDx prove by a preponderance of the evidence that Natera is liable for
false advertising for Alleged Advertising Claim G? [|

 

 

 

 
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Alleged Advertising Claim H

. _— Highly aE te Byte reduce variability
Unparalleled precision. = Sree final eke ees. Froshera oitieted 1 3 Lower risk of missing active seein —

pies Nae vari viability «

Patient Test Summary Example* . i

TH IDNA reauit: 0.4%
T2 ofDNA result: 0.6%

 

Percentage of patients with a negative result who have active rejection

    
    
 

 

Proapera® FFirst-generation dd-ctDNA! | Senum creatmine!

1.7% 5% 7.1%

Unparalleled
precision,
Optimized by
Prospera.

 
 

34 trwer tepeuthorss iniiaed

   
     

—  Now-—catch ALL rejection types 2
with a single blood draw

Prospera’s unique ablity to identify T o@l-meckaticd reaction gi
a more Comprenensive view of your patient's rejection statu:

    

vor 149/100 2 ter | 41/100

Rejection

a Coen bbaOEHE SeOdRHORDEOOTEO ONDE
satty mediated Preise neneneeite
T col

 

mediated
rejection (TEMA) > 1A

 

 

 

JTX-7.3 (Brochure)
YES NO
QUESTION NO. 8:
for CareD for Nat
Did CareDx prove by a preponderance of the evidence that Natera is liable for (for CareDx) (for Natera)
false advertising for Alleged Advertising Claim H? [|

 

 

 
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Alleged Advertising Claim |

The advertisement to the
right. Now—catch ALL rejection types

with a single blood draw

Prospera’s unique ability to identify T cell-mediated rejection gives
a more comprehensive view of your patient’s rejection status.2°

Rejection
Types

Antibody-mediated
rejection (ABMR)

T cell-mediated
rejection (TCMR) 2 1A

 

JTX-7.3 (Brochure)

 

 

YES NO

QUESTION NO. 9: (for CareDx) (for Natera)

Did CareDx prove by a preponderance of the evidence that Natera is liable for
false advertising for Alleged Advertising Claim I? P|

 

 

 

 
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Alleged Advertising Claim J

The advertisement to the
right. Highly sensitive across a range of rejection types and patients

Broad distribution of rejection types

Subclinical rejection

T-cell mediated rejection IA/B/IIB
Antibody-mediated rejection
C4d-positive antibody-mediated rejection
Acute rejection

Variety of ethnic & racial demographics

Hispanic / Latino (n=50)

Caucasian (n=74)

African American (n=31)

Asian (n=31)

Ages:
Below 18 years of age (n=49)
18 — 40 years of age (n=68)

8 Confidential. Not for further reproduction or use . — “0 eis) ss natera

Sigcel et al J Cin Mad. 2016, 8, 19 dor 10 33Mvjem8010019

 

 

JTX-21.8 (CEOT Presentation)
JTX23.8 (Billings Presentation)

 

 

 

QUESTION NO. 10: (for srt (for Natore!
Did CareDx prove by a preponderance of the evidence that Natera is liable for i CO

false advertising for Alleged Advertising Claim J?

 

 
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If you answered “Yes” to any one of Questions No. 1 - 10, you must answer Question No. 11.

If you answered “No” to all of Questions No. 1 - 10, you should skip Questions No. 11 - 16.

 

QUESTION NO. 11: . YES vo
Did CareDx prove by a preponderance of the evidence that Natera ( or CareDx) nar NeAETS)

intentionally and willfully engaged in false advertising? K [ ]

 

 

 

 
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If you answered “Yes” to any one of Questions No. 1 - 10, you must answer Question No. 12.

 

If you answered “No” to all of Questions No. 1 - 10, you should skip Questions No. 12 - 16.

 

QUESTION NO. 12: Did CareDx prove by a preponderance of the YES NO
evidence that Natera is liable for false advertising under the Delaware (for Carex) — (for Natera)
Deceptive Trade Practices Act? [ ]

 

 

 
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If you answered “Yes” to any one of Questions No. 1 - 10, you must answer Question No. 13.

If you answered “No” to all of Question Nos. 1 - 10, you should skip Questions No. 13 - 16.

 

 

 

 

YES NO

QUESTION NO. 13: (for CareDx) (for Natera)
Did CareDx prove by a preponderance of the evidence that Natera is
liable for unfair competition? []
If you answered “Yes” to Question No. 13, you must answer Question No. 14.
If you answered “No” to Question No. 13, you should skip Question Nos. 14 and 16.

YES NO
SEESTION NO, 16: (for CareDx) (for Natera)

Did CareDx prove by a preponderance of the evidence that Natera
intentionally or recklessly engaged in unfair competition?

LJ

 

 
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If you answered “Yes” to any one of Question Nos. 1 - 10, you must answer Question No. 15.

If you answered “No” to all of Question Nos. 1 - 10, you should skip Question Nos. 15 - 16.

 

QUESTION NO. 15:
What amount, if any, is CareDx entitled to recover as actual damages Answer: S$ _) 2 OOo,” OW
attributable to Natera’s false advertising and/or unfair competition? (. \ LG

2LIM
NN

LG?

 

 

 

 
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If you answered “Yes” to Question No. 14 and you awarded compensatory damages in response to Question
No. 15, you must answer Question No. 16.

If you answered “No” to Question No. 14 or you awarded no compensatory damages in response to Question
No. 15, you should skip Question No. 16.

 

QUESTION NO. 16: inet amount of punitive damages, if any, do you answer: % "2% } oA ied
award CareDx for Natera’s unfair competition?

 

 

 

 

 
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NATERA QUESTIONS

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Alleged DTX135.00002 Method 1: Method 2:

Advertising Claim Rigorous Scientific Method' vs. Lack of Scientific Rigor?

1. The PT 1) 4 Mee ELEVEN aT Te Other Test: Applying Other Test
USAT Fe st hede) a) Oks

adventisenient SCNTHiCe NCet Non-Transplant Focused Method to DART Data

 

Scientific Design

Multi-Center Prospective Retrospective Single-Center

to the right Multi-Center Prospective

 

 

 

 

Number of Centers 14 l 14
; . Selection bias illustrated Selection bias illustrated
3.4
Patient Selection No eGFR selection bias by eGFR by eGFR
AUC® 0.74 0.87 1.0

 

 

Definition of Active | Banff criteria used', accepted in

Non-Banff definition used Non-Banff definition used

 

 

 

 

 

Rejection kidney transplant community to segment patients® to segment patients®
Sensitivity 59% 89% 100%
Specificity 85% 73% 100%

NPV 84% 95% 100%
PPV 60% 53% L00%
Journal?® JASN JCM

 

 

 

 

 

 

 

 

é CareDx

. Bloom R. JASN publication Multi-Center (14)

including 384 patients and
lull Gantf 2013 criteria 1s reflective of real
incidence and accurate analysis

. @GFR pattern between groups demonstrate

selection bias

5. AUC's cannot be compared unless same

method has been used

Your Pertner in Tranaplant Care 2. Competitor study is a limited retrospective . Banff 2017 criteria used was incomplete,
single center analysis introducing bias
© 2019 CareDx, Inc. All service marks or trademarks are owned 3. Sample selection bias makes analysis inappli . Journal! of the American Society of Nephrology

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cable to real world patients

. Journal! of Clinical Medicine

 

YES NO
(for Natera) (for CareDx)

Ot

NATERA QUESTION NO. 1:

Did Natera prove by a preponderance of the evidence that CareDx is liable for
false advertising for Alleged Advertising Claim 1?

 

 

 

 
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Alleged
Advertising Claim

 

2. “ ‘While CareDx
was not involved in
this head-to-head
comparison, we are
not surprised by the
results as AlloSure
was developed for
transplant specific
needs, including
accurate testing at
low cfDNA levels and
fast turnaround
times, said Sham
Dholakia, SVP of
Medical Affairs

at CareDx.”

 

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DTX144

Press Releases

Jun 22, 2020

<< Back
New Kidney360 Publication Highlights CareDx’s AlloSure is Differentiated as the
dd-cfDNA Test of Choice

Head to head data shows that not all dd-cfDNA is the same

SOUTH SAN FRANCISCO, Calif., June 22, 2020 (GLOBE NEWSWIRE) -- CareDx, Inc. (Nasdaq: CDNA),
a leading precision medicine company focused on the discovery, development, and commercialization
of clinically differentiated, high-value healthcare solutions for transplant patients and caregivers,
announces today that the journal of the American Society of Nephrology, Kidney360, published a
study evaluating AlloSure simultaneously with a different donor-derived cell-free DNA (dd-cfDNA)
monitoring tool for allograft rejection.

This study evaluated 76 kidney transplant patients and surveilled post-transplant kidney rejection
utilizing AlloSure and one other dd-cfDNA monitoring tool. Overall, the study found that while there
were no significant differences between the diagnostic test characteristics, AlloSure was proven to be
more accurate in clinical interpretation and significantly faster in delivering patient results. The study
evaluated dd-cfDNA samples and concluded that AlloSure had a significantly superior turnaround
time with 75% of the results returned at least one day earlier.

“Our study findings further validated the published data on AlloSure, a transplant-focused analytical
tool for allograft rejection using donor-derived cell-free DNA,” said Joseph K. Melancon, MD, The
George Washington University Hospital. “Although dd-cfDNA tests are similar, they are not the same.”

“While CareDx was not involved in this head-to-head comparison, we are not surprised by the results
as AlloSure was developed for transplant specific needs, including accurate testing at low cfDNA
levels and fast turnaround times,” said Sham Dholakia, SVP of Medical Affairs at CareDx,

 

 

NATERA QUESTION NO. 2: YES NO

Did Natera prove by a preponderance of the evidence that CareDx is liable for
false advertising for Alleged Advertising Claim 2?

(for Natera)

a

(for CareDx)

L

 

 

 

 
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Alleged DTX085.00001, .00005
Advertising Claims

 

3. “I declare no Kidney360 Publish Ahead of Print, published on June 19, 2020 as doi:10.34067/KID.0003512020
conflict of interest
and performed this

study independent of Donor Derived Cell Free DNA: is it all the same?
any compan
. y P y Joseph K. Melancon*
involvement.
‘Department of Surgery, The George Washington University Hospital, Washington, D.C., U.S.A.
and

Corresponding Author:
Joseph K. Melancon, MD

“No external funding 2131 K Street NW, Washington, D.C., 20037, U.S.A.

ved.” Email address: jmelancon@mfa.gwu.edu
was received.

Disclosures
J Melancon is on the speaker's bureau of Natera and CareDx. | declare no conflict of interest and performed
this study independent of any company involvement.

Acknowledgements/Funding
No external funding was received.

Author Contributions

J Melancon: Conceptualization; Data curation; Formal analysis; Investigation; Writing - original draft;
Writing - review and editing

 

 

NATERA QUESTION NO. 3: YES a
; . co. (for Natera) (for CareDx)
Did Natera prove by a preponderance of the evidence that CareDx is liable for

false advertising for Alleged Advertising Claims 3? M []

 

 

 
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Alleged DTX125.00001
Advertising Claim
4. “Allosure can
accurately determine
active rejection,
enabling better
management of your
kidney transplant
patients.”
PEIN] 8 Oly
UU EPEAT Sree Te es pas Tels
UMASS} SU MOON COE YL SSM Se) a Ce) U Te rv eS
Floto lets tal= mui lesterstavenColay Wala lolae rie hysteiiiemacet ald re) ueskeistetstsiets
Co} FeXaIaMal=to} Lda oh meliectenah'aigel=sobciv lato isda | lojedraliullalfelnawall(ersieltc)
Cora} abs (oxext les) t=) hare l=) t=] eal ialemotels i= e2) (2101dlo)apm=yats)o) [layeql oy=vaccds
nits} ats}e{=laat=101Gce) mn (elu jen -d(elatsy"aiaes)aisyo) (clay en oye] e(=)ges
“Active Rejection = acute/active ABMR; chronic, active ABMR; and TCMR IA and greater
Prevalence of rejection within the first year post-transplant
"Prevalence of ABMR in DSA positive patients
YES NO
NATERA QUESTION NO. 4:
. . pe (for Natera) (for CareDx)
Did Natera prove by a preponderance of the evidence that CareDx is liable for
false advertising for Alleged Advertising Claim 4? [ ]

 

 

 
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Alleged DTX125.00004
Advertising Claim

5 Se Y for Active Al loS Ure De (fo rmance
characteristics

 

96% of AlloSure results for samples from DART hea lthy stable recipients are below the 1% threshold

ALLOSURE CAN RULE OUT REJECTION

95% NPV for Active Rejection*

Sensitivity: 85% } at 0.21% dd-cfDNA
Specificity: 33%

Prevalence: 10%?!
0.21% is the median from DART healthy stable recipients

 

*Active Rejection = acute/active ABMR; chronic, active ABMR; and TCMR IA and greater
"Prevalence of rejection within the first year post-transplant
* Prevalence of ABMR in DSA positive patients

 

 

NATERA-GUESTION NO. 5: Fenaarerel (for car
Did Natera prove by a preponderance of the evidence that CareDx is liable for
false advertising for Alleged Advertising Claim 5? [ ]

 

 

 

 
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Alleged DTX138.00010

Advertising Claim iv
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Cieehim lial Ulavy- Nate fn DYerre\analiatenince)exeuloln

AMM MMP VAM RLU) Sey UT CeLe) TTa) hg eT Ue) Mote) el SBT ET A eed ta] ey gC) |

 

6. “95% NPV for Active
Rejection”

    

96% of AlloSure results from DART healthy stable recipients are below the 1% threshold
50% of AlloSure results from DART healthy stable recipients are below 0.21%

ALLOSURE CAN RULE OUT REJECTION

95% NPV for Active Rejection”

Sensitivity: 85%
Specificity: 33%
Prevalence: 10%!
0.21% is the median from DART
healthy stable recipients

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me

} at 0.21% dd-ciDNA

 

 

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NATERA QUESTION NO. 6: YES NG

for Nat for CareD
Did Natera prove by a preponderance of the evidence that CareDx is liable for for Natere) (or Carepx)
false advertising for Alleged Advertising Claim 6? [ ]

 

 

 
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Alleged DTX128.004, .005
Advertising Claim

 

7. “Allosure <0.21%
has 95% NPV for REASSURANCE WITH A LOW ALLOSURE SCORE

Active Rejection”

 
   

Distribution of dd-cfDNA

ae ALLOSURE
has 95% NPV

‘ : a4
=u for Active Rejection
a bh aon 0.21% is the median from DART healthy stable recipients

Number of test results
3

00 O05 10 15 20
dd-cfDNA (%)

TPT} ce FsTa)es\ Ons) ers] foal ies} n\sjelts]a1 | D)ireiel ered Olkstee tess yrAS) SSeS) CAH SCHEs| AA ULaeM tealals}e) 1p) ert0y210)| aloece falta Lohils Wily) ei Uatsy2ved {cy a\¥ loys] pleta(el(o)} eyeia’|

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YES NO
NATERA QUESTION NO. 7: iter Hiaers) War cateond

Did Natera prove by a preponderance of the evidence that CareDx is liable for
false advertising for Alleged Advertising Claim 7? [ ]

 

 

 
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Alleged DTX128.005
Advertising Claim

 

8. “95% NPV for active
rejection”

1.0% Threshold for active rejection?

Threshold for TCMR1A/Borderline
differentiation?

95% NPV for active rejection’

 

 

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NATERA QUESTION NO. 8: YES NO

for Nat for CareD
Did Natera prove by a preponderance of the evidence that CareDx is liable for (ror Natere) (fer n x)
false advertising for Alleged Advertising Claim 8? [] XM

 

 

 

 
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If you answered “Yes” to any one of Natera Questions No. 1 - 8, you must answer Natera Question No. 9.

If you answered “No” to all of Natera Questions No. 1 - 8, you should skip Natera Questions No. 9 - 12.

 

. YES NO
NATERA QUESTION NO. 9: . . (for Natera) (for CareDx)
Did Natera prove by a preponderance of the evidence that CareDx is liable for

false advertising under the Delaware Deceptive Trade Practices Act? [ ]

 

 

 
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If you answered “Yes” to any one of Natera Questions No. 1 - 8, you must answer Natera Question No. 10.

If you answered “No” to all of Natera Questions No. 1 - 8, you should skip Natera Question No. 10.

 

NATERA QUESTION NO. 10: YES NO

for Nat for CareD
Did Natera prove by a preponderance of the evidence that CareDx intentionally erNaters) (for GareDx)
and willfully engaged in false advertising? [ ]

 

 

 
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If you answered “Yes” to any one of Natera Questions No. 1 - 8, you must answer Natera Question No. 11.

If you answered “No” to all of Natera Questions No. 1 - 8, you should skip Natera Questions No. 11 - 12.

 

NATERA QUESTION NO. 11:

Did Natera prove by a preponderance of the evidence that CareDx is liable for
unfair competition?

YES
(for Natera)

L

 

NO
(for CareDx)

A

 

 

 

 

If you answered “Yes” to Natera Question No. 11, you must answer Natera Question No. 12.

If you answered “No” to Natera Question No. 11, you should skip Natera Question No. 12.

 

NATERA QUESTION NO. 12:

Did Natera prove by a preponderance of the evidence that CareDx intentionally
or recklessly engaged in unfair competition?

 

YES
(for Natera)

 

 

 

NO
(for CareDx)

MM

 

 
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You have reached the end of the verdict form. Review the completed form to ensure that it accurately
reflects your unanimous determinations. The Foreperson should then sign and date the verdict form in the
space below and notify the Court Security Officer that you have reached a verdict. The Foreperson should

place the completed verdict form in the envelope provided to you and retain possession of it until the jury
returns to the courtroom.

Dated: YM [20 a

 

 

Foreperson

 

 

 

 

 
